
USCA1 Opinion

	











                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2047

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   JESUS M. ACOSTA,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                      Aldrich and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

            Thomas G. Briody, by Appointment of the Court, for appellant.
            ________________
            Michael P. Iannotti,  Assistant United States Attorney, with  whom
            ___________________
        Sheldon  Whitehouse, United  States  Attorney, was  on  brief for  the
        ___________________
        United States.


                                 ____________________

                                   October 2, 1995
                                 ____________________
























                 BOUDIN, Circuit Judge.  Jesus Acosta was indicted on two
                         _____________

            counts of possession of a  firearm by a convicted felon.   18

            U.S.C.    922(g).  A jury  convicted Acosta on one  count and

            acquitted on the other, and Acosta was then given a mandatory

            minimum sentence  of 15  years' imprisonment under  the Armed

            Career  Criminal Act, 18 U.S.C.   924(e)(1).  He now appeals,

            raising  as  his  main issue  a  claim  of  entrapment.   The

            evidence at trial, taken  in the light most favorable  to the

            jury's verdict against Acosta, United States  v. Tuesta-Toro,
                                           _____________     ___________

            29  F.3d 771, 773 (1st  Cir. 1994), cert.  denied, 115 S. Ct.
                                                _____________

            947 (1995), revealed the following.

                 Acosta  is  a 42-year-old  man,  married,  with a  prior

            record  of drug  offenses but  no prior  weapons convictions.

            Sometime in mid-1993--probably in early July--Acosta met Neal

            San Souci at a pawn shop in Pawtucket, Rhode Island,  and the

            two men engaged in small talk regarding gold jewelry.  Acosta

            and San  Souci  had apparently  met once  many years  before.

            Unknown  to  Acosta,  San  Souci  either  was  then  or  soon

            thereafter became a government informant.

                 A few days after  the pawn shop meeting, Acosta  and his

            brother-in-law stopped  by San  Souci's apartment  to inspect

            some  gold jewelry that San Souci had offered to sell Acosta.

            Instead of providing the jewelry,  San Souci asked Acosta and

            his brother-in-law whether they  could furnish San Souci with

            cocaine.  When they declined, San Souci asked whether the two



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            men  could provide  a gun.   According  to San  Souci, Acosta

            said, "he'd check into  it . . . . he  didn't know of anybody

            or anything at that moment."

                 By  his own testimony at  trial, San Souci  was a former

            drug  addict and present alcoholic.  Around the first week in

            July 1993 he began to work as  an informant for Special Agent

            Stephen Woods of  the Bureau of Alcohol, Tobacco and Firearms

            ("ATF").  Prior to working for ATF, San Souci had been jailed

            for  failing to pay child support; for his assistance on this

            case  and other  matters,  ATF paid  San Souci  approximately

            $4,000.  San Souci conceded that  he thought that he would be

            paid  only if he succeeded  in persuading Acosta  to sell him

            the firearm.

                 San  Souci testified  that  following the  visit to  his

            apartment he called Acosta on a number of  occasions, usually

            leaving messages  with  Acosta's wife  or Acosta's  answering

            machine.   Acosta's  wife also  testified that  the telephone

            calls were very frequent, sometimes more than once a day, and

            that Acosta himself appeared uninterested in the messages and

            often made dismissive  gestures.  The purpose of  San Souci's

            efforts  to reach Acosta was to obtain firearms for San Souci

            to purchase.

                 On  July  21,  1993,  San   Souci  spoke  to  Acosta  by

            telephone,  again asking to purchase a  firearm.  Acosta told

            San Souci that he would "check into it" and advise San Souci.



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            On July  23 Acosta told  San Souci that he  had a .25-caliber

            automatic  pistol  for sale.    Later  that  day, after  some

            bargaining, San  Souci gave Acosta  $125 in exchange  for the

            weapon, which was fully loaded and had an obliterated  serial

            number.  San  Souci asked for more guns, and Acosta said that

            he would "get back" to San Souci.  The conversation was taped

            but the tape was inaudible.

                 At agent Woods' direction, San Souci did not call Acosta

            for a  couple of weeks  because telephone records  were being

            secured.  On August  6, 1993, San Souci called  Acosta to ask

            for  weapons and  in  the conversation--which  was taped  and

            played  at trial--Acosta said that  he was going  to get them

            but  needed more  time.  A  similar conversation  occurred on

            September  15,  1993,  and   on  the  following  day,  Acosta

            telephoned  San Souci to tell  him that he  had a .32-caliber

            revolver for sale.   The same day San Souci purchased the gun

            from Acosta for $130, again after bargaining about price.

                 During this sale, San Souci asked Acosta if he could get

            more guns.  Acosta  replied, "I'm going to get  .38 specials"

            and "Maybe  I  can come  up  with an  Uzi  for $200."    This

            conversation was recorded, and the recording played at trial.

            There  is  no indication  that  any  other transactions  were

            attempted  or  accomplished.   In  January  1994, Acosta  was

            arrested  for the two weapons sales and charged in two counts

            under the felon-in-possession statute.



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                 At   his  trial,   Acosta   testified,   admitting   the

            transactions  and his  status as  a prior  felon.   He relied

            primarily  on the  entrapment  defense.   The  judge gave  an

            entrapment charge, whose correctness  is not challenged.  The

            jury  acquitted Acosta on the  count relating to  the July 23

            transaction   and  convicted   him  for   the  September   16

            transaction.

                 On this appeal, Acosta's main argument is that a verdict

            of acquittal should have been directed on count II on grounds

            of entrapment or, alternatively, that a new trial should have

            been offered.  It appears that the motion for a new trial was

            made out of  time, see Fed. R.  Crim. P. 33; but in  any case
                               ___

            the district court's denial of such a motion is reviewed only

            for  abuse of  discretion.   We  think,  therefore, that  the

            central  issue of  this  appeal is  whether the  evidence was

            sufficient  to  permit  a   reasonable  jury  to  reject  the

            entrapment defense.

                 The legal  tests for  entrapment  are well  established.

            What  is  required  is (1)  that  the  government induce  the

            offense  and (2)  that the  defendant  not be  predisposed to

            commit  it.   See  Jacobson v.  United  States, 503  U.S. 540
                          ___  ________     ______________

            (1992).   The  bare terms--inducement  and predisposition--do

            little  to  disclose  the  encrusting  precedent.    For  our

            purpose,  the most useful discussion is  the decision of then

            Chief Judge (now Justice) Breyer in United States v. Gendron,
                                                _____________    _______



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            18 F.3d 955 (1st Cir.), cert. denied, 115 S.  Ct. 654 (1994).
                                    ____________

            That  decision, which is  post-Jacobson, not only illuminates
                                           ________

            the entrapment concept but remains  the governing law in this

            circuit.

                 Gendron makes clear that despite some general strictures
                 _______

            against   the   government's   "manufacturing"   of   crimes,

            inducement  requires something  more than  that a  government

            agent  or  informant suggested  the  crime  and provided  the

            occasion for it.  Rather, inducement "consists of [providing]

            an  `opportunity'  plus something  else--typically, excessive
                               ____

            pressure by the government  . . . or the  government's taking

            advantage"  of the defendant in an  improper way.  18 F.3d at

            961 (emphasis  added).  There is no better means of getting a

            sense  of  what  the   courts  have  regarded  as  "improper"

            inducement  than the  list  of cases  and parentheticals  set

            forth in the Gendron opinion.  Id. at 961-62.
                         _______           ___

                 Although the entrapment doctrine is  primarily concerned

            with  curbing such  improper  pressure by  the government,  a

            competing policy  has led to the  second requirement, namely,

            that  the defendant  also not  be  predisposed to  commit the

            crime.   The notion is that a defendant predisposed to commit

            the crime should  not get off  merely because the  government

            gave the defendant too forceful a shove along a path that the

            defendant would readily have  taken anyway.  Gendron suggests
                                                         _______

            that  one might ask whether  defendant would have been likely



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            to commit the same crime without  the undue pressure actually
                                     _______

            exerted.  18 F.3d at 962.

                 Entrapment is called  a defense, but it  is settled that

            once the  defendant has made a threshold  showing, the burden

            shifts to the  government to prove beyond  a reasonable doubt

            either  that  there  was  no  undue  government  pressure  or
            ______

            trickery  or that the defendant  was predisposed.  See United
                                                               ___ ______

            States  v. Rodriguez, 858 F.2d 809, 815  (1st Cir. 1988).  In
            ______     _________

            this  case,  the facts  were  largely  although not  entirely

            undisputed.  Thus,  the problem  for the  jury was  primarily

            that of applying a  vague general standard--actually two such

            standards:    inducement   and  predisposition--to  a  unique

            pattern of facts.

                 Because  the facts  were largely  undisputed, one  might

            think that  on review this  court necessarily  decides as  an

            issue  of  law  whether  the  facts do  or  do  not  make out

            entrapment.  Yet, even where there are  no credibility issues

            or  tensions  in  the  evidence--and  some  do  exist  here--

            entrapment is  treated as a issue  of fact for a  jury.  That

            does not mean complete freedom for the jury, see Jacobson; it
                                                         ___ ________

            does mean that where a rational jury could decide either way,

            its verdict will not be disturbed.  United States v. Gifford,
                                                _____________    _______

            17 F.3d 462, 467 (1st Cir. 1994).

                 Starting  with  inducement, the  problem  (as  it is  so

            often) is  one of degree.   On  the one hand,  the government



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            does not disclaim responsibility for San Souci's conduct even

            if it occurred  before he  was hired, and  here that  conduct

            went some distance beyond "simply offer[ing] [defendant]  the

            opportunity" to commit the crime.  Jacobson, 503 U.S. at 550.
                                               ________

            True, Acosta did not  close the door in the  first discussion

            (Acosta, according to San Souci, said "he'd check  into it").

            But  it  took a  campaign of  persistent  calls by  San Souci

            before Acosta responded, apparently several weeks later.

                 On the other hand,  there is no evidence that  San Souci

            threatened  Acosta or  even rebuffed  an explicit  request by

            Acosta to be let alone.   Nor does this case involve improper

            appeals to sympathy,  cf. Sherman v. United  States, 356 U.S.
                                  ___ _______    ______________

            369 (1958), promises  of extravagant reward,  or the kind  of

            relentless  and extreme  trickery  engaged in  by postal  and

            customs agents in Jacobson.  See 503 U.S. at 543-47. In other
                              ________   ___

            words, the facts  fall somewhere in  a middle ground  between

            what is plainly proper and what is plainly improper.

                 If  the  district  court   had  refused  to  submit  the

            entrapment  issue to a jury for lack of threshold evidence of

            inducement, we would have reversed.  But we do not think that

            the  evidence was  so overwhelming  as to  establish improper

            conduct by the government as "a  matter of law."  San Souci's

            efforts, although far from pristine, were dubious rather than

            flagrant,  or  at  least   a  rational  factfinder  could  so





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            determine.   To  assume  that we  are  dealing with  a  sharp

            boundary rather than a spectrum is an illusion.

                 By tradition  issues associated with  guilt or innocence

            (duress, insanity,  entrapment) are  submitted  to the  jury.

            United States  v. Gaudin,  115 S.  Ct. 2310,  2313-14 (1995).
            _____________     ______

            Other  issues,  perhaps  similar   in  kind  but  related  to

            collateral matters,  are determined  by the court  (e.g., the
                                                                ____

            reasonableness of  a search  and, in many  jurisdictions, the

            voluntariness of  a confession).   In the former  category of

            merits-related issues,  the jury in  close cases  effectively

            decides not only what happened but also whether what happened

            deserves the legal label described in the jury instruction.

                 If the  jury gets to make  these middle-ground decisions

            on inducement, deference is even  easier to understand on the

            issue of predisposition.  In large part, predisposition turns

            on  making  a judgment  as  to  how a  defendant  of a  given

            character,  background, and  behavior   would  have acted  in

            somewhat different circumstances.  On questions of this kind,

            the joint common sense of  a jury is hard to best.   At least

            as a composite body, the jury probably knows quite as much as

            the  judge, or more, about how human beings behave outside of

            court.

                 Except where a  jury acquits in a  criminal case, judges

            remain  as a check on  juries in the  extreme case--one where

            the  judge thinks that a  rational jury could  reach only one



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            result.  Acosta invokes  this exception, arguing that  he had

            no known  prior record of dealing  in guns, did  not hurry to

            accept  San  Souci's  initial  overtures,  and  showed little

            enthusiasm  throughout the  venture.  We  agree that  in this

            case   the  trial   judge  could   not  have   withdrawn  the

            predisposition issue from the jury by refusing to instruct on

            entrapment,  and nor would we have been surprised if the jury

            had chosen to acquit.

                 But  there is another  side to the  coin.   Acosta had a

            criminal record in drug  dealing, properly made known  to the

            jury, and  drug dealing  is often associated  with access  to

            weapons.   He did not  flatly rebuff the  initial overture by

            San Souci,  and it  is  uncertain whether  Acosta's delay  in

            supplying a weapon reflected inertia, suspicion, or a genuine

            reluctance  to commit  a criminal  act.   The second  gun was

            provided with less prompting than the first, and the prospect

            of a third  sale, possibly of  an Uzi,  was suggested at  the

            end.

                 Thus,  a rational  jury could  conclude that  Acosta was

            predisposed to  commit the  offense.  His  prior record  with

            drugs  would  not   be  enough  by  itself;   but,  with  one

            qualification,  the  government  was  entitled   to  rely  as

            evidence of predisposition on  Acosta's own behavior after he
                                                                 _____

            was approached  by  San  Souci.   This  included  an  initial

            willingness at  least to  consider supplying arms,  the later



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            provision of two weapons with the  suggestion that more would

            be available,  and a certain measure  of professional finesse

            in making the transfers.

                 It  is quite  true (and this  is the  qualification just

            mentioned) that  under Jacobson predisposition does not count
                                   ________

            if  it is itself the product  of improper government conduct.

            That could reasonably have been said in Jacobson.  There, the
                                                    ________

            government,  through  its  own  mailings  to  the  defendant,

            purporting to  come from others, encouraged  the defendant to

            believe that  procuring child pornography was  a blow against

            censorship and in  favor of  the First Amendment.   If  there

            were predisposition, said the Court, the government instilled

            it.  503 U.S. at 553.   

                 In  our case, the facts  are more equivocal.   San Souci

            was less  persistent and less  deceptive than  the agents  in

            Jacobson.  Further,  San Souci did  nothing to encourage  the

            defendant  to alter  his views  of right  and wrong;  he just

            offered money  in exchange  for weapons.      On the  present

            facts,  the  jury  could   have  concluded  that  Acosta  was

            predisposed or that he was not, but it  could not easily have

            concluded that  San Souci created in  Acosta a predisposition

            toward crime.   Certainly it  was not obliged  to reach  this

            conclusion.

                 As authority for a  judgment of acquittal, Acosta points

            us to United States v. Beal,  961 F.2d 1512 (10th Cir. 1992).
                  _____________    ____



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            There, a government informant, to secure relief from criminal

            charges against him, pestered Beal with telephone calls until

            drugs were supplied;  two sales  were made by  Beal within  a

            twenty-four hour  period; and  presented  with an  entrapment

            defense, the jury  acquitted Beal  as to the  first sale  and

            convicted on the second.      The district judge in Beal then
                                                                ____

            ordered an acquittal  on the count of conviction.   By a two-

            to-one vote,  the Tenth  Circuit affirmed, saying:   "Because

            the  two counts  were founded  upon one continuous  course of

            conduct,  it  follows  that  the  original  inducement  which

            `beguiled'  Mr. Beal carried over to the second charge."  961

            F.2d at 1517.

                 The government says  that unlike Beal  the two sales  in
                                                  ____

            this case  took place two months  apart and were not  part of

            "the same course of conduct."  Why this should matter, either

            in Beal or in  this case, is unclear.   A jury in a  criminal
               ____

            case  is not  obliged to  be consistent  in its  verdicts; on

            virtually  the same evidence the jury may acquit on one count

            and convict on the  other.  United States v. Powell, 469 U.S.
                                        _____________    ______

            57,  65 (1984).   The only question  for the judges--district

            and  appellate--is  whether  the  evidence on  the  count  of

            conviction compelled an acquittal.

                 It is not clear  to us whether Beal was  rightly decided
                                                ____

            or  whether there are nuances in the evidence there that made

            it  a stronger case for entrapment than  our own.  What we do



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            know--for reasons  explained above--is that as  to the second

            count in  our case, the jury was entitled either to find that

            Acosta was entrapped  or to  reject the defense.   Since  the

            evidence permitted a conviction on count II, it is irrelevant

            whether the  conviction is logically consistent with Acosta's

            acquittal on count I.

                 As  it happens,  the two  verdicts in  our case  are not

            inherently  inconsistent.   Merely  as an  example, the  jury

            could   rationally  have  concluded   that  Acosta   was  not

            predisposed as to either  sale; that the degree  of badgering

            in connection with the  first sale did constitute inducement;

            that the  lack of further badgering  distinguished the second

            sale; and that therefore entrapment was established as to the

            first sale but not as to  the second.  Whatever reasoning the

            jury  adopted,  the  evidence  as  to  count  II permitted  a

            conviction.

                 Acosta's  remaining claims  of error  on the  appeal are

            much  weaker.    First, we  reject  the  suggestion  that the

            government did not  prove the commerce  element in the  case.

            The statute prohibits a prior felon from possessing a firearm

            "in or affecting  commerce." 18  U.S.C.   922(g).   Here  the

            government offered  evidence from an ATF expert  that both of

            the  firearms sold  by Acosta  were made  in specific  states

            other  than Rhode Island.  The jury was therefore entitled to





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            conclude  that  both  weapons  had   traveled  in  interstate

            commerce before Acosta possessed them.

                 Acosta makes no constitutional claim but argues that the

            statute should be read leniently to require that a  defendant

            possess  the weapon,  if not  actually during  its interstate

            travel, at least  close in  time to  such travel.   But  this

            court has  already held  that the terms  "affecting commerce"

            were  used as  "jurisdictional  words of  art" reflecting  an

            intent to exercise the commerce clause power broadly.  United
                                                                   ______

            States v. Gillies,  851 F.2d  492, 493-95  (1st Cir.),  cert.
            ______    _______                                       _____

            denied,  488  U.S.  857  (1988).   Given  Congress'  inferred
            ______

            intent,  it is hard to doubt  Gillies was correct and, in any
                                          _______

            case, it is binding.

                 Second, Acosta objects to  the trial court's handling of

            a note from the jury.  On May 27, 1994, a few hours after the

            jury began deliberations, the  court advised counsel for both

            sides that the  jury had submitted  a note  reading:  "If  we

            play the tape/conversations  that were not  introduced during

            the  trial, are heard, are they allowed?"   At the request of

            both sides, the court summoned the jury back to the courtroom

            to  inquire further, it not being evident that there were any

            taped conversations except those introduced at trial.

                 Before counsel could reassemble, the jury sent word that

            it had reached a verdict.   Prior to taking the  verdict, the

            court asked the jury in open court whether the jury no longer



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            wished to have  its written question  answered.  The  foreman

            stated that  that  was  correct.    Then  the  verdicts  were

            received and  the jury  was discharged, without  objection by

            either side, either before or immediately after the taking of

            the  verdicts.   Four days  later, Acosta's  counsel filed  a

            motion to recall the jury for voir dire regarding the note.

                 The  district judge's denial of  the motion to recall is

            now challenged on appeal, but the denial was plainly correct.

            While  the jury's inquiry is puzzling, there is no proof that

            the  jury considered  anything  outside the  evidence.   More

            important, if  defense counsel wanted a  further inquiry, the

            time  to ask  here--as  with any  curable  defect or  doubt--

            plainly was  before the verdict.  United  States v. Mosquera,
                         ______               ______________    ________

            1st Cir., August 28, 1995,  slip op. 14 &amp; n.7.   Trial judges

            must manage  juries in the face of  all kinds of problems and

            perplexities.   When  trial counsel  acquiesce in  a proposed

            solution, it is rare indeed that an appeals court will engage

            in second guessing.

                 Third,  the   district  court  sentenced  Acosta  to  an

            enhanced  sentence  under  the  Armed  Career  Criminal  Act,

            because  he had  three  previous convictions  "for a  violent

            felony or  a serious  drug offense," specifically  three drug

            trafficking convictions that met the statutory  definition of

            "a serious drug  offense."   18 U.S.C.    924(e)(1).   Acosta

            urged  that one of the  prior convictions was invalid because



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            no inquiry was made in that case as to the  factual basis for

            his guilty  plea.   On  procedural  grounds the  state  court

            refused to set the conviction aside.

                 Acosta admits that under Custis v. United States, 114 S.
                                          ______    _____________

            Ct. 1732  (1994), a  defendant has  no right  collaterally to

            attack his  prior convictions  during a sentencing  under the

            Armed Career Criminal  Act.   But, he says,  Custis does  not
                                                         ______

            prevent the  trial court  from considering such  a collateral

            attack as a matter of discretion.  We  think that the reasons

            given  by the Supreme Court in Custis apply with equal force,
                                           ______

            whether the  reexamination of the state  conviction is sought

            by the defendant or the trial judge.  See 114 S. Ct. at 1738-
                                                  ___

            39.

                 One  further word  is  in order.    Whether or  not  the

            government unduly encouraged Acosta  to commit the offense is

            a close call, but it is the kind of close call that a jury is

            equipped to make.  What may be even more troublesome in cases

            of this kind is the possibility of undue encouragement to the
                                                                   ______

            informant, as a result  of compelling government  inducements
            _________

            (here,  money; in  Beal,  dismissal of  criminal charges)  to
                               ____

            overstep the bounds  in the  field, or in  the courtroom,  or

            both.

                 In his  dual role  as both  instigator and  witness, the

            informant  has   a  special  capacity--as   well  as   strong

            incentive--to tilt  both the  event itself and  his testimony



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            about  it.  If the government  is going to use its informants

            in a role just short of provocateur, it would be well advised

            to consider  devising restrictions that will  at least lessen

            the likelihood  for abuse.  Otherwise, the  lesson of history

            is that the courts themselves  are likely to take precautions

            and  their  adjustments  are  usually  more  rigid  and  far-

            reaching.

                 Affirmed. 
                 ________





































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